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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 STATE OF MARYLAND, et al.,

 Plaintiffs,                                          Case No. 1:25-cv-00748-JKB

         v.

 UNITED STATES DEP’T OF
 AGRICULTURE et al.,

 Defendants.


        DEFENDANTS’ CONSENT MOTION TO EXTEND DEADLINE TO FILE
            UPDATED COMPLIANCE STATUS REPORT BY 24 HOURS

        Defendants respectfully ask the Court to extend by 24 hours the deadline to file their

required updated Compliance Status Report documenting Restrained Defendants’ additional steps

towards compliance with the Court’s Temporary Restraining Order (“TRO”), as required by the

Court’s March 28, 2025 Order. ECF No. 72. Defendants presently do not request any other

modification to the schedule set forth in that Order and the TRO, but rather ask only for modest

scheduling relief extending the deadline for the updated Status Report from Monday, March 24,

2025 at 1 p.m. EDT to Tuesday, March 25, 2025 at 1 p.m. EDT. Good cause supports this request,

as it will provide relief for coinciding deadlines.

        On March 20, 2025, around 9 p.m. EDT, Plaintiffs filed a Motion for a Section 705 Stay

and Preliminary Injunction (ECF No. 78) (hereinafter, “PI Motion”). Defendants’ deadline to

respond to the PI Motion is Monday, 4 p.m. EDT, under Local Rule 105.2(b) (where the TRO

provided that any hearing on a motion for a Preliminary Injunction will occur on Wednesday,

March 26, 2025, at 9:30 a.m. EDT). ECF No. 44, ¶ 7. Presently, that same Monday afternoon,

Defendants are required to file an updated Compliance Status Report by 1 p.m. ECF No. 72, ¶ 2
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(requiring that Restrained Defendants file an updated Status Report by Monday, March 24, 2025

at 1 p.m. EDT, apprising the Court of their additional steps toward compliance with the TRO).

Defendants seek to move the updated Compliance Status Report deadline back by 24 hours, to

Tuesday, 1 p.m. EDT, which would permit Defendants’ counsel to focus all reasonable efforts on

preparing their opposition to Plaintiffs’ PI Motion, and then shift focus to finalizing their updated

Compliance Status Report.

       The Court’s March 18 Order observed that Defendants’ first Compliance Status Report

(ECF No. 52), which included 18 separate declarations from Restrained Defendants, reflects that

they have made meaningful progress toward compliance. ECF No. 72, ¶ 1. The Order therefore

required an updated Compliance Status Report apprising the Court of additional steps toward

compliance, and directed that the updated Status Report shall contain updated declarations, from

the appropriate personnel from each Restrained Defendant, addressing the reinstatement of

Affected Probationary Employees.

       Since the March 18 Order, undersigned counsel have worked diligently with Restrained

Defendants to update the Compliance Status Report, with the required updated declarations.

Undersigned counsel will continue those efforts unabated, while in the meantime, focusing

(through Saturday and Sunday, March 22 and 23) on preparing a response to the PI Motion.

       Thus, this requested brief extension would enable Defendants’ counsel to obtain updated

declarations and ensure that those declarations continue to include accurate, comprehensive, up-

to-date information—while also enabling Defendants’ counsel to attend to their Monday 4:00 p.m.

deadline to respond to the PI Motion. The extension also should allow time for the Court to review

the updated Compliance Status Report, once filed, in advance of any hearing on the PI Motion.

See ECF No. 44. ¶ 7.



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       Undersigned counsel conferred with counsel for the State of Maryland, who provided their

consent to this requested extension.

                                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on this 21st day of March 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF System, which will send notice of such filing to all counsel.


                                                            /s/ Steven M. Chasin
                                                            Steven M. Chasin
                                                            Trial Attorney




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